Case 7:97-cr-00024-MFU       Document 666 Filed 06/16/16         Page 1 of 1     Pageid#:
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FA H A D T .TA W A LBEH ,                       By:     H on.M ichaelF.U rbansld
        Petitioner.                                     U nited StatesD istrictJudge

       Forthereasonsstated in theaccompanying M emorandum Opinion,itishereby

                                       ORDERED

thatthemotion tovacate,setasideorcorrectsentenceptlrsuantto28U.S.C.j2255is
DISM ISSED withoutprejudiceassuccessive,acertificateofappealabilityisDENIED,andthe
case is STR ICK EN from the active docket.

       The Clerk shallsend copiesofthisOrderand theaccompanyingM emorandttm Opinion

toPetitionerand cotmsel       rd fortheUnited States.

       ENTER:This l/ dàyofJtme,2016.
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                                                 UnitedStatesDistrictJudg/
